 8:16-cr-00142-JFB-FG3              Doc # 65   Filed: 10/12/16    Page 1 of 3 - Page ID # 159




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                                                                       8:16CR142
                       Plaintiff,

       vs.                                                  PRELIMINARY ORDER OF
                                                          FORFEITURE NUNC PRO TUNC
JOSE MARTINEZ-PENA,

                       Defendant.



       This matter comes on before the Court upon the United States=s Motion for Preliminary

Order of Forfeiture Nunc Pro Tunc (Filing No. 64). The Court reviews the record in this case and,

being duly advised in the premises, finds as follows:

       1. The United States’s Motion for a Preliminary Order of Forfeiture Nunc Pro Tunc

should be sustained.

       2. The Defendant has entered into a Plea Agreement (Filing No. 59), whereby he has

agreed to plead guilty to Count I of an Information and to admit the Forfeiture Allegation in said

Information. Count I charged the Defendant with possession with intent to distribute

methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1). The Forfeiture Allegation

sought the forfeiture, pursuant to 21 U.S.C. § 853, of a Dodge Ram 3500 Crew Cab SLT, VIN

3C63RRHL4DG613589, on the basis it was used or was intended to be used to facilitate said

controlled substance violations and/or was derived from proceeds obtained directly or indirectly as

a result of the commission of said controlled substance violations.




                                                 1
 8:16-cr-00142-JFB-FG3          Doc # 65      Filed: 10/12/16     Page 2 of 3 - Page ID # 160




       3. By virtue of said plea of guilty, the Defendant forfeits his interest in the subject

property, and the United States should be entitled to possession of said property, pursuant to

21 U.S.C. § 853.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The United States=s Motion for Preliminary Order of Forfeiture Nunc Pro Tunc is

hereby sustained.

       B. Based upon the Forfeiture Allegation of the Information and the Defendant=s plea of

guilty, the United States is hereby authorized to seize the Dodge Ram 3500 Crew Cab SLT, VIN

3C63RRHL4DG613589.

       C.    The Defendant=s interest in the Dodge Ram 3500 Crew Cab SLT, VIN

3C63RRHL4DG613589 is hereby forfeited to the United States for disposition in accordance with

the law, subject to the provisions of 21 U.S.C. § 853(n)(1).

       D. The aforementioned vehicle is to be held by the United States in its secure custody and

control.

       E. Pursuant to 21 U.S.C. § 853(n)(1), the United States forthwith shall publish for at least

thirty consecutive days on an official internet government forfeiture site (www.forfeiture.gov)

notice of this Order, Notice of Publication evidencing the United States=s intent to dispose of the

property in such manner as the Attorney General may direct, and notice that any person, other than

the Defendant, having or claiming a legal interest in the subject property must file a Petition with

the court within thirty days of the final publication of notice or of receipt of actual notice,

whichever is earlier.




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 8:16-cr-00142-JFB-FG3           Doc # 65       Filed: 10/12/16      Page 3 of 3 - Page ID # 161




        F. Said published notice shall state the Petition referred to in Paragraph E, above, shall be

for a hearing to adjudicate the validity of the Petitioner=s interest in the property, shall be signed by

the Petitioner under penalty of perjury, and shall set forth the nature and extent of the Petitioner=s

right, title or interest in the subject property and any additional facts supporting the Petitioner=s

claim and the relief sought.

        G. The United States may also, to the extent practicable, provide direct written notice to

any person known to have an interest in the property subject to this Order as a substitute for

published notice as to those persons so notified.

        H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. ' 853(n), in which all interests will be addressed.

        ORDERED this 12th day of October, 2016.




                                                        BY THE COURT:



                                                           s/ Joseph F. Bataillon
                                                        JOSEPH F. BATAILLON
                                                        Senior United States District Judge




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